
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Erica S. White, to indefinitely suspend the Respondent from the practice of law. The Court having considered the Petition, it is this 18th day of July, 2016
ORDERED, that Respondent, Erica S. White, be and she is hereby indefinitely suspended from the practice of law in the State of Mary land for violating Rules 1.15(a) and (c), 8.1(b), and 8.4(a) and (d) of the Maryland Lawyers' Rules of Professional Conduct; and it is further
ORDERED, that, the Clerk of the Court shall remove the name Erica S. White from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
